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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig Deepwater     * MDL No. 2179
Horizon in the Gulf * of Mexico, on April 20, *
2010                                          * SECTION: J
                                              *
Applies to: All Cases.                        * JUDGE BARBIER
                                              *
                                              * MAGISTRATE SHUSHAN

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                                  TIMELINE

                          Case Management Order No. 1

                                  Exhibit “A”
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DATE             DEADLINE / EVENT

                 Meet & Confer regarding Pre-Trial Orders (confidentiality, privilege, deposition
                 protocol, document production protocol and e-discovery protocol, direct filing,
                 etc)

                 Meet & Confer regarding One-Page Plaintiff Profile Form (PPF) which may be
                 submitted by Counsel in lieu of Rule 26(a) Disclosures. Plaintiff and Defense
                 Liaison Counsel may confer with GCCF Administrators Regarding Feasibility of
                 Providing PPF Information

11-1-2010        Submit Proposed PTOs

11-1-2010        Plaintiffs’ Initial Written Phase I Discovery including discovery relating to
                 casualty and/or ensuing spill, as well as environmental sampling and testing,
                 personal jurisdiction, MIS/IT/IS, and general proximate cause issues relating to
                 OPA cases. Defendants may serve written discovery upon other defendants
                 relating to casualty and/or ensuing spill after this date.

11-1-2010         MIS 30(b)(6) Depositions May Begin (as necessary)

11-15-2010       Defendants Responses to Plaintiffs’ Initial Omnibus Discovery Requests on All
                 Defendants

11-15-2010       Counsel for Plaintiffs with Suits Filed Serve One-Page PPF in Lieu of Initial
                 Disclosures
                 (Or 60 Days After Filing or Removal, whichever is Later)

12-1-2010        Defendants’ Responses to Initial Written Discovery Served, Identification of the
                 Sources of E-Data Not Produced Due to Alleged “Inaccessibility” or other Undue
                 Burden or Cost, but Which May Include Evidence Relevant to these MDL
                 Proceedings.

12-15-2010       File Master Complaints (Bundles B1, B3 and D)

12-15-2010       Status Conference relating to RICO cases and potential Master Complaint for
                 RICO cases

12-31-2010       Defendants’ Privilege Logs served on Plaintiffs

1-18-2011        Rule 12 Motions or Answers to Complaints (Bundles B, C and D) 1

1-18-2011         Answers or Rule 12(b)(2) Motions (if any); Answers and Rule 12(b)(6) Motions

1
 Any jurisdictional discovery arising from Rule 12(b)(2) motions that may be filed will be expeditiously dealt with
by the parties through Liaison Counsel.
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             (if any) (Bundle A)

1-18-2011    Status conference, preceded by meet and confers to discuss identification of OPA
             Test Cases vs. BP and to discuss scheduling order/trial of same; in advance of
             such status conference, Defense Liaison will furnish a single memorandum and
             Plaintiffs Liaison shall furnish a single memorandum discussing their view of
             what the procedure and law would be for such OPA test cases.

1-18-2011    Fact Discovery Depositions on Casualty and/or Ensuing Spill Commence

2-18-2011    Oppositions to Rule 12 Motions to Dismiss

2-18-2011    Transocean Rule 14(c) Tenders or Claims in the Limitation

3-18-2011    Answer, Cross-Claims and Third-Party Complaints by 14(c) Defendants in the
             Limitation and/or Defendants in the Bundle A Cases

3-18-2011    Reply Briefs in Support of Motions to Dismiss

4-20-2011    Deadline for answers and responsive pleadings to cross-claims and third-party
             actions by Rule 14(c) Defendants in the Limitation Action and Defendants in
             the Bundle A Cases

4-20-2011    Monition Date (re Limitation)
             (including deadline for BP to file claim in
             Limitation and/or other cross-claim and/or third-
             party complaint seeking any subrogation,
             contribution and/or indemnity under OPA, per
             contract, or other applicable law)

5-2-2011     Identify one or more PI/Wrongful Death Limitation action cases and Robins Dry
             Dock cases filed in EDLA and designated for Bench trial under Rule 9(h) for
             February 2012 Trial of Liability, Limitation, Exoneration and Fault allocation,
             and July 2012 trial of Damages.

8-15-2011    Expert Reports served by Limitation action parties with burden of proof on
             negligence and unseaworthiness

9-15-2011    Expert Reports from Vessel Owner / Petitioner in Limitation

10-17-2011   All February 2012 Trial Defendants, 14(c) Defendants, and/or Third-Party
             Defendants to serve expert reports

11-15-2011   Rebuttal Expert Reports for the February 2012 Trial
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11-16-2011 Depositions of All Experts for February 2012 Trial
thru 1-15-2012

2-1-2012           Daubert Motions for February 2012 Trial (if any)

2-1-2012           Pre-Trial Stipulation, including Witness and Exhibit Lists, and Other Pre-Trial
                   Motions for February 27, 2012 Trial

2-3-2012           Final Pre-Trial Conference for February 27, 2012 Trial

2-27-2012          Trial of Liability, Limitation, Exoneration and Fault Allocation

                   Additional Discovery, Expert Discovery, and Motion Practice Relating to July
                   2012 Trial, as needed, and/or to be established under separate Scheduling Order

7-16-2012          Trial of Damages for selected Limitation / Test Case PI/Death and Robins Dry
                   Dock Claimants, Entitlement to Punitive Damages,2 and Amount of Punitive
                   Damages, if available.




2
 Plaintiffs Liaison Counsel shall confer with Defense Liaison Counsel and the Court to determine whether the issue of
entitlement to punitive damages should be included within the February 2012 trial.
